           Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 1 of 16



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND

PHILADELPHIA INDEMNITY                        *
INSURANCE COMPANY
                                              *
and
                                              *
ESSENTIAL BRANDS, INC.
                                              *
and
                                              *
KIDDIE ACADEMY DOMESTIC
FRANCHISING, LLC                              *

                                              *      Civil Action No.: 20-cv-00669-RDB
       Plaintiffs
                                              *
v.
                                              *
MARKEL INSURANCE COMPANY
                                              *
and
                                              *
KA BROADWAY, LLC d/b/a KIDDIE
ACADEMY PEARLAND EAST                         *

       Defendants                             *

*      *       *       *       *      *       *      *       *       *      *       *       *

             SECOND AMENDED COMPLAINT FOR BREACH OF CONTRACT
                       AND DECLARATORY JUDGMENT

       Pursuant to Rule 57 of the Federal Rules of Civil Procedure and 28 U.S.C. § 2201, Plaintiffs

Philadelphia Indemnity Insurance Company, Essential Brands, Inc., and Kiddie Academy

Domestic Franchising, LLC (collectively referred to as “Plaintiffs”) bring this suit for Declaratory

Judgment against Defendants Markel Insurance Company and KA Broadway, LLC, d/b/a Kiddie

Academy Pearland East and state as follows:
         Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 2 of 16



                                            PARTIES

       1.      Philadelphia Indemnity Insurance Company (“PIIC”) is an insurance company

organized and existing in the Commonwealth of Pennsylvania.

       2.      Essential Brands, Inc. (“Essential”) is a Delaware corporation with its principal

place of business in the State of Maryland. Essential is the parent of Kiddie Academy Domestic

Franchising, LLC.

       3.      Kiddie Academy Domestic Franchising, LLC (“KADF”) is a Delaware limited

liability company with its principal place of business in the State of Maryland.

       4.      Markel Insurance Company (“Markel”) is an insurance company organized and

existing in the Commonwealth of Virginia.

       5.      KA Broadway, LLC, d/b/a Kiddie Academy Pearland East (“KA Broadway”) is a

limited liability company organized and existing in the State of Texas.

                                 JURISDICTION AND VENUE

       6.      Pursuant to 28 U.S.C. § 1332, this Court has jurisdiction because the amount in

controversy exceeds $75,000 and the parties have complete diversity of citizenship.

       7.      Pursuant to 28 U.S.C. § 2201, the matter in controversy involves a declaration of

the rights, duties, and obligations of the parties under insurance policies and other contracts.

       8.      This Court is the proper venue for this dispute pursuant to Paragraph 27.2 of the

Franchise Agreement between KADF and KA Broadway which states, “The parties agree that

any cause of action by either party against the other must be filed in the United States District

Court for the District of Maryland or the Circuit Court for Harford County, State of Maryland,




                                                 2
        Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 3 of 16



and the parties and all personal guarantors hereof do hereby waive all questions of personal and

subject matter jurisdiction or venue for the purpose of carrying out this provision….”

                         FACTS REGARDING PRIOR LITIGATION

       9.     On or about November 7, 2013, KADF and KA Broadway entered into a Franchise

Agreement under which KADF granted KA Broadway the right to operate a Kiddie Academy

Child Care Learning Center in Pearland, Texas.

       10.    Paragraph 14 of the Franchise Agreement required KA Broadway to procure:

                  14.2.1 Comprehensive general liability insurance, including,
              without limitation, personal injury, premises liability, errors and
              omissions, products/completed operations, fire and contractual
              liability in the amount of One Million Dollars ($1,000,000) per
              occurrence and Two Million Dollars ($2,000,000) in the aggregate.

                  14.2.2 Teachers’ professional liability insurance in the amount
              of One Million Dollars ($1,000,000) per occurrence and Two Million
              Dollars ($2,000,000) in the aggregate, separate and apart from the
              comprehensive general liability insurance limits.

                 14.2.9 Umbrella liability insurance (commonly referred to as
              excess liability insurance) in the amount of no less than Three
              Million Dollars ($3,000,000) per occurrence and Three Million
              Dollars ($3,000,000) in the aggregate.

       11.    Paragraph 21 of the Franchise Agreement provides:

              21. INDEPENDENT CONTRACTOR; INDEMNIFICATION

                  21.2 Indemnification

                 Nothing in this Agreement authorizes Franchisee to make any
              contract, agreement, warranty or representation on Franchisor’s
              behalf, or to incur any debt or other obligation in Franchisor’s
              name. Franchisor will in no event assume liability for, or be
              deemed liable under this Agreement as a result of any such action
              by Franchisee; nor will Franchisor be liable by reason of any act or
              omission of Franchisee in its conduct in operating the Franchised

                                                 3
              Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 4 of 16



                  Business or for any claim or judgment arising from the operation of
                  the Franchised Business. Franchisee will indemnify and hold
                  Franchisor and Franchisor’s members, managers, officers, directors
                  and employees harmless against and from any and all claims
                  arising either directly or indirectly from, as a result of, or in
                  connection with the operation of the Franchised Business, as well
                  as the costs, including attorneys’ fees, of defending against them.
                  This provision and all of its parts shall survive the termination or
                  expiration of this Agreement.

          12.     On or about June 4, 2019, Robert Lewis, Individually and as Next Friend of the

Minor, K. L., filed a First Amended Petition in the District Court of Brazoria County, Texas against

KA Broadway, Essential, and KADF arising out of an incident that occurred on June 19, 2017 (the

“Incident”). Such lawsuit was styled Robert Lewis, et al. v. KA Broadway, LLC, et al., Cause No.

93954-CV (the “Lewis Litigation”).

          13.     In the Lewis Litigation, the plaintiff alleged that the defendants were negligent

and grossly negligent in actions or omissions that caused injury to a Minor, K.L.

          14.     Specifically, the First Amended Petition and later discovery and filings made in

the Lewis Litigation alleged and supported claims that K.L. was injured while participating in an

art activity when she was in day care at a Kiddie Academy day care facility operated by KA

Broadway.

          15.     The allegations and evidence regarding the injury to K. L. were as follows:

    a.           Essential and/or KADF developed a curriculum for its franchisees that
                 included a “bubble art” activity. The curriculum included specific and
                 detailed instructions on how the bubble art activity was to be conducted.

         b.      The bubble art activity involved mixing non-toxic tempera paint with
                 household dish soap and water to create a colored mix. Children then use
                 drinking straws to blow bubbles in the mixture and place a piece of paper on
                 the bubbles to create colored circles of paint.



                                                   4
               Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 5 of 16



     c.           The day care staff at KA Broadway undertook the bubble art activity on June
                  19, 2017, with K.L. participating.

     d.           A KA Broadway staff member prepared the mixture but, in an error, used
                  industrial grade dishwashing detergent containing sodium hydroxide,
                  instead of common household dish soap.

     e.           K.L. ingested the mixture during the activity, which caused severe and
                  permanent damage to her gastrointestinal tract.

     f.           When the KA Broadway staff identified that K.L. had ingested the mixture,
                  they did not seek emergency medical assistance or engage in first aid.

     g.           The KA Broadway staff members who created the mixture and conducted the
                  bubble art activity did not heed the instructions and warnings on the
                  container of detergent used.

          16.      Counsel for the plaintiff in the Lewis Litigation filed designations of expert

testimony and other filings that described the causes of action against KA Broadway as follows:

          a.       provided sodium hydroxide to K.L.;
          b.       complied with instructions for the bubble art activity;
          c.       failed to properly train employees;
          d.       failed to adequately supervise employees;
          e.       failed to follow policies and procedures regarding injuries to children;
          f.       failed to follow first aid measures after injury;
          g.       failed to heed warnings on industrial detergent;
          h.       failed to heed warnings on material safety data sheet.

          17.      Counsel for the plaintiff in the Lewis Litigation filed designations of expert

testimony and other filings that described the causes of action against KADF and Essential as

follows:

          a.       negligently developed and provided dangerous instructions for the bubble art
                   activity;
          b.       failed to protect children’s health when bubble art instructions were followed;
          c.       failed to warn of dangers created by following the instructions for bubble art;
          d.       retained control of how the bubble art activity would be conducted.


                                                     5
        Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 6 of 16




                                     THE MARKEL POLICIES

       18.     At the time of the Incident, Markel issued a Commercial General Liability Policy

of insurance to KA Broadway, Policy No. CCP20027298, with effective dates of December 16, 2016

to December 16, 2017, and with limits of liability of $1,000,000 in general liability coverage and

$1,000,000 in professional liability coverage (the “Markel CGL Policy”).

       19.     The Markel CGL Policy provides in relevant part as follows:

                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM

               SECTION I – COVERAGES
               COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE
               LIABILITY

               1. Insuring Agreement
                  a. We will pay those sums that the insured becomes legally
                     obligated to pay as damages because of “bodily injury” or
                     “property damage” to which this insurance applies.

                                      *       *       *
                   b. This insurance applies to 'bodily injury' and 'property
                  damage' only if:

                  (1) The 'bodily injury' or 'property damage' is caused by an
                  'occurrence' that takes place in the 'coverage territory;' ...

                                         *      *       *

               SECTION V – DEFINITIONS

               13. “Occurrence" means an accident, including continuous or repeated
               exposure to substantially the same general harmful conditions.

                                         *      *       *

               SECTION IV        –    COMMERCIAL            GENERAL    LIABILITY
               CONDITIONS

                                                6
Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 7 of 16




    4. Other Insurance
       If other valid and collectible insurance is available to the
       insured for a loss we cover under Coverages A or B of this
       Coverage Part, our obligations are limited as follows:

       a. Primary Insurance

           This insurance is primary except when Paragraph b. below
           applies. …

                            *       *      *

           TEXAS PROFESSIONAL LIABILITY COVERAGE

    This endorsement modifies insurance provided under the
    following:

    COMMERCIAL GENERAL LIABILITY COVERAGE FORM

    The following changes apply only to the coverage provided by this
    endorsement.
    A. The following is added to Section I – Coverages:

       MISCELLANEOUS PROFESSIONAL LIABILITY

       1. Insuring Agreement

           a. We will pay those sums that the insured becomes legally
              obligated to pay as “damages” because of injury arising
              out of a “wrongful act” of the insured or of any other
              person for whose acts the insured is legally liable, to
              which this insurance applies. …
           b. This insurance applies to injury only if:
              (1) The injury is caused by a “wrongful act” that takes
                  place in the “coverage territory”;
              (2) The injury occurs during the policy period; and
              (3) Prior to the policy period, no insured listed under
                  Paragraph 1. of Section II – Who Is An Insured and
                  no “employee” authorized by you to give or
                  received notice of a “wrongful act” or claim, knew
                  that the injury had occurred, in whole or in part. …



                                    7
        Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 8 of 16



                                         *      *       *

               D. Section III – Limits of Insurance is replaced by the following:

                  LIMITS OF INSURANCE
                  4. The limits of insurance provided by this endorsement are in
                     addition to the limits of insurance provided by the
                     Commercial General Liability Coverage Form.

                                         *      *       *

               F. The following are added to the Definitions section:

                  “Wrongful act” means any actual or alleged negligent act, error
                  or omission in the rendering or failure to render professional
                  services to others out of your operations, including the
                  furnishing of food, beverages, medications or appliances in
                  connection with those operations.

       20.     At the time of the Incident, Markel also issued an Umbrella Liability Policy of

insurance to KA Broadway, Policy No. CCU20027298, with effective dates of December 16, 2016

to December 16, 2017, and with limits of liability of $3,000,000 (the “Markel Umbrella Policy”).

       21.     Essential and KADF are Additional Insureds under both Markel Policies.

                                      THE PIIC POLICIES

       22.     At the time of the Incident, PIIC issued a Commercial General Liability Policy of

insurance to Essential and KADF, Policy No. PHPK1592227, with effective dates of December 31,

2016 to December 31, 2017, and with limits of liability of $1,000,000 (the “PIIC CGL Policy”).

       23.     At the time of the Incident, PIIC issued also a Commercial Umbrella Liability

Policy of insurance to Essential and KADF, Policy No. PHUB567838, with effective dates of

December 31, 2016 to December 31, 2017, and with limits of liability of $10,000,000 (the “PIIC

Umbrella Policy”).



                                                8
         Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 9 of 16



                          SETTLEMENT OF THE LEWIS LITIGATION

       24.     On or about September 5, 2019, KA Broadway, Essential, and KADF agreed to

settle the Lewis Litigation by paying a total sum of $6,000,000 to Mr. Lewis.

      25.      To achieve that settlement, KA Broadway’s insurer, Markel, contributed

$4,000,000 toward the settlement on behalf of KA Broadway, KADF and Essential; while PIIC

contributed $2,000,000 on behalf of Essential and KADF.

      26.      Specifically, Markel contributed $1,000,000 in professional liability coverage from

the Markel CGL Policy and the $3,000,000 policy limits from the Markel Umbrella Policy. Markel

did not contribute any of the limits of the general liability coverage from the Markel CGL Policy.

       27.     PIIC contributed $1,000,000 in general liability coverage from the PIIC CGL Policy

and $1,000,000 from the PIIC Umbrella Policy.

       28.     A dispute has arisen regarding the amounts the insurers were obligated to

contribute to the settlement of the Lewis Litigation.

       29.     Plaintiffs contend that Markel failed to exhaust its policy limits under the CGL

which was primary to all other policies.

       30.     Specifically, Plaintiffs contend that Markel was required to contribute both

$1,000,000 in professional liability coverage and $1,000,000 in general liability coverage from the

Markel CGL Policy.

       31.     Plaintiffs allege that the allegations and evidence in the Lewis Litigation triggered

coverage under the Commercial General Liability Coverage Form, requiring payment of the

general liability coverage limit of $1,000,000 on the basis, inter alia, of the following claims, which

were accidents within the definition of an occurrence:

                                                  9
           Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 10 of 16



      a.        the KA Broadway staff member made an error in choosing the industrial
                dishwashing detergent instead of common household dish soap;

      b.        KA Broadway did not properly supervise its employees regarding choosing
                the material to be used for the bubble art activity;

      c.        the KA Broadway staff did not identify that K.L. might need first aid or
                medical attention for the ingestion of the mixture;

      d.        the KA Broadway staff did not read the label warnings, material safety data
                sheet, or other information about the detergent;
      e.        KADF and Essential were liable in agency for the actions and omissions of
                KA Broadway.

       32.      The actions and omissions of KA Broadway, imputed by alleged agency to KADF

and Essential, both alleged and shown in evidence in the Lewis Litigation, are acts of negligence

that are insured under the Markel policy Commercial General Liability Form.

       33.             Some of the allegations and evidence in the Lewis Litigation support

coverage under the Texas Professional Liability Coverage Form, as wrongful acts, as defined by

the Markel policy.

       34.      The wrongful acts of both KA Broadway and KADF and Essential include:

       a.       failure to train employees;
       b.       failure to follow policies and procedures regarding injuries to children;
       c.       development of the bubble art activity as a part of the curriculum;
       d.       failure to warn of dangers created by the bubble art activity;
       e.       failure to identify the dangers in the bubble art activity and address the
                instructions;
       f.       determining how the bubble art activity was to be conducted;
       g.       conducting the bubble art activity without considering or attending to its
                dangers.

       35.      Markel admits that the Texas Professional Liability Coverage Form was triggered

by the allegations and evidence in the Lewis Litigation.




                                               10
        Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 11 of 16



       36.     Markel wrongfully failed to acknowledge that the Commercial General Liability

Coverage Form was triggered by the allegations and evidence in the Lewis Litigation.

       37.     If Markel had contributed a total of $5,000,000 towards the settlement, made up of

$1,000,000 in general liability coverage, $1,000,000 in professional liability coverage, and its

$3,000,000 in umbrella coverage, as Plaintiffs contend it was obligated to, PIIC would not have

had to contribute $1,000,000 from the PIIC Umbrella Policy.

       38.     The Markel CGL Policy provides “The limits of insurance provided by this [Texas

Professional Liability Coverage] endorsement are in addition to the limits of insurance provided

by the Commercial General Liability Coverage Form.” See TEXAS PROFESSIONAL LIABILITY

COVERAGE ENDORSEMENT, D. Limits of Insurance, 4.

       39.     Markel disputes that it is obligated under the Markel CGL Policy to contribute

$1,000,000 in general liability coverage towards the settlement of the Lewis Litigation.

       40.     There exists an actual, justiciable controversy as to whether Markel is obligated

under the Markel CGL Policy to contribute $1,000,000 in general liability coverage towards the

settlement.

       41.     KA Broadway failed to meet its contractual obligation to Essential and KADF to

provide $2,000,000 in primary general liability and professional liability coverage to settle the

Lewis Litigation.



                                            COUNT I
         Declaratory Judgment - Markel was obligated under the Markel CGL Policy
 to contribute $1,000,000 in general liability coverage and $1,000,000 in professional liability
                    coverage toward the settlement of the Lewis Litigation.




                                                11
          Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 12 of 16



          42.   Plaintiffs specifically incorporate all of the above allegations as if set forth fully

herein.

          43.   The Markel CGL Policy provides: “We will pay those sums that the insured

becomes legally obligated to pay as damages because of ‘bodily injury’ or ‘property damage’ to

which this insurance applies.” See COMMERCIAL GENERAL LIABILITY COVERAGE FORM,

SECTION I – COVERAGES, COVERAGE A – BODILY INJURY AND PROPERTY DAMAGE

LIABILITY, 1. Insuring Agreement.

          44.   The Markel CGL Policy provides: “If other valid and collectible insurance is

available to the insured for a loss we cover under Coverages A or B of this Coverage Part, our

obligations are limited as follows: a. Primary Insurance. This insurance is primary except when

Paragraph b. below applies.” See COMMERCIAL GENERAL LIABILITY COVERAGE FORM,

SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, 4. Other Insurance, a.

Primary Insurance.

          45.   None of the conditions of Paragraph b. applies to change the status of the Markel

CGL Policy as primary.

          46.   The Markel CGL Policy provides: “The limits of insurance provided by this [Texas

Professional Liability Coverage] endorsement are in addition to the limits of insurance provided

by the Commercial General Liability Coverage Form.” See TEXAS PROFESSIONAL LIABILITY

COVERAGE ENDORSEMENT, D. Limits of Insurance, 4.

          47.   The Markel Policy, along with the facts as alleged and shown in the Lewis

Litigation, require that both the professional liability coverage limits and the commercial general

liability coverage limits should have been paid in settlement of the Lewis Litigation.

                                                  12
          Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 13 of 16



          WHEREFORE, Plaintiffs Philadelphia Indemnity Insurance Company, Essential Brands,

Inc., and Kiddie Academy Domestic Franchising, LLC request this Honorable Court enter

judgment in their favor and against Defendants Markel Insurance Company and KA Broadway,

LLC, d/b/a Kiddie Academy Pearland East and declare the following:

                  a)     That both the professional liability coverage and general liability coverage

limits of the Markel CGL Policy must be paid in settlement of the Lewis Litigation;

                  b)     That Markel was obligated to contribute a total sum of $2,000,000 from the

Markel CGL Policy toward the settlement of the Lewis Litigation;

                  c)     That Markel was obligated to contribute a total sum of $5,000,000 from the

Markel CGL and Umbrella Policies toward the settlement of the Lewis Litigation;

                  e)     That PIIC was only obligated to contribute $1,000,000 towards the

settlement of the Lewis Litigation;

                  f)     That Markel shall, for the Lewis Litigation, pay $1,000,000 to PIIC

representing the commercial general liability coverage limits of the Markel CGL Policy; and

                  f)     Such other and further relief as the Court deems appropriate.

                                           COUNT II
                Essential and KADF vs. KA Broadway – Contractual Indemnification

          48.     Plaintiffs specifically incorporate all of the above allegations as if set forth fully

herein.

          49.     Paragraph 21.2 of the Franchise Agreement provides “Franchisee will indemnify

and hold Franchisor and Franchisor’s members, managers, officers, directors and employees

harmless against and from any and all claims arising either directly or indirectly from, as a result



                                                   13
          Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 14 of 16



of, or in connection with the operation of the Franchised Business, as well as the costs, including

attorneys’ fees, of defending against them.”

          50.   Essential and KADF paid $2,000,000 to settle the Lewis Litigation.

          51.   Pursuant to the Franchise Agreement, Essential and KADF are entitled to

indemnification from KA Broadway for the amounts paid to settle the Lewis Litigation.

          52.   KA Broadway has breached its obligation of contractual indemnification by not

fully indemnifying Essential and KADF for the amounts incurred to settle the Lewis Litigation.

          WHEREFORE, Plaintiffs Essential Brands, Inc. and Kiddie Academy Domestic

Franchising, LLC request this Honorable Court enter judgment in their favor and against

Defendant KA Broadway, LLC, d/b/a Kiddie Academy Pearland East in the amount of $2,000,000

together with pre and post judgment interest, costs and such other relief as this Court deems

appropriate.

                                         COUNT III
                         PIIC v. KA Broadway – Equitable Subrogation

          53.   Plaintiffs specifically incorporate all of the above allegations as if set forth fully

herein.

          54.   KA Broadway, as the owner and operator of a childcare facility charged with the

responsibility of the well-being of children such as the Minor, K.L., was under a duty to exercise

a high degree of care for the safety and welfare of children in its facility.

          55.   KA Broadway breached that duty of care on June 19, 2017, when K.L. suffered

injury at KA Broadway’s childcare facility.




                                                  14
        Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 15 of 16



       56.     As a result of KA Broadway’s negligence, PIIC made payment on behalf of its

insureds, Essential and KADF, in the amount of $2,000,000 towards the settlement of the Lewis

Litigation in accordance with the terms and conditions of the PIIC Policy.

       57.     By virtue of the payment made on behalf of its insureds, and in accordance with

the terms and conditions of the PIIC Policy, PIIC is legally, equitably, and contractually

subrogated to the rights of its insureds to the extent of such payment.

       WHEREFORE, Plaintiff Philadelphia Indemnity Insurance Company requests this

Honorable Court enter judgment in its favor and against Defendant KA Broadway, LLC, d/b/a

Kiddie Academy Pearland East in the amount of $2,000,000 together with pre and post judgment

interest, costs and such other relief as this Court deems appropriate.




                                      /s/ Margaret Fonshell Ward
                                      Margaret Fonshell Ward (04586)
                                      Alicia D. Stewart (29742)
                                      DOWNS WARD BENDER HAUPTMANN & HERZOG, P.A.
                                      Executive Plaza III, Suite 400
                                      11350 McCormick Road
                                      Hunt Valley, Maryland 21031
                                      Phone: 410-584-2800
                                      Fax: 410-584-2020
                                      mward@downs-ward.com
                                      adstewart@downs-ward.com
                                      Attorneys for Plaintiffs
                                       Philadelphia Indemnity Insurance Company,
                                       Essential Brands, Inc., and
                                       Kiddie Academy Domestic Franchising, LLC


                                CERTIFICATE OF SERVICE

       I CERTIFY that on this 12th day of January, 2021, a copy of this Second Amended

Complaint was electronically filed using the court’s CM/ECF system on all counsel of record.
                                                15
Case 1:20-cv-00669-RDB Document 37 Filed 01/12/21 Page 16 of 16




                            Margaret Fonshell Ward
                            Margaret Fonshell Ward




                              16
